SOUTHERN DiSTRGT SE aageeemmee

ook

TERN DISTRICT OF MESES
LED

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
. NORTHERN DIVISION

UNITED STATES OF AMERICA

v. . CRIMINAL NO. 3:24cr103-DPJ-LGI
JODY E. OWENS I,

CHOK WE ANTAR LUMUMBA, and

AARON B. BANKS

GOVERNMENT’S MOTION TO UNSEAL

COMES NOW the United States of America, hereinafter “the Government”, requesting
that the above styled matter be unsealed and represents the following:
Revealing the existence of the indictment at this time would not jeopardize law

enforcement agents and would assist in the prosecution of the case.
WHEREFORE, the Government requests that the Court UNSEAL the above styled matter.

RESPECTFULLY SUBMITTED, this the 7 day of November, 2024.

TODD W. GEE
United States Attorney

By: s/Charles W. Kirkham
CHARLES W. KIRKHAM

501 East Court Street, Suite 4.430
Jackson, MS 39201

Telephone: (601) 965.4480

Fax: (601) 965-4409

Mississippi Bar No. 102022
Email: chet.kirkham@usdoj.gov

